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              Attachment B
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           PLAINTIFFS’ COUNSEL SUPPORTING APPOINTMENT OF DEREK LOESER FOR LEADERSHIP

The following counsel, who have filed cases in this MDL as detailed below, support Derek Loeser’s appointment for leadership:

       Support for Lead and/or Co-Lead
       Counsel               Firm Name & Address                                     Case Information
 1.    Tina Wolfson          Ahdoot & Wolfson, PC                                    Sanchez v. Facebook
                             10728 Lindbrook Drive                                   3:18-cv-2381-VC (N.D. Cal.)
                             Los Angeles, CA 90024
                             T: (310) 474-9111
                             F: (310) 474-8585
 2.    Ben Barnow            Barnow and Associates, P.C.                             Wing v. Facebook
                             One North LaSalle Street, Suite 4600                    3:18-cv-2122-VC (N.D. Cal.)
                             Chicago, IL 60602
                             T: (312) 621-2000
                             F: (312) 641-5504
 3.    Archie I. Grubb, II   Beasley Allen Crow Methvin Portis & Miles PC            Williams v. Facebook
                             218 Commerce Street                                     2:18-cv-00535-RDP (N.D. Al.)
                             P.O. Box 4160                                           3:18-md-02843-VC (N.D. Cal)
                             Montgomery, AL 36103-4160
                             T: (334) 269-2343
                             F: (334) 954-7555
 4.    Lesley E. Weaver      Bleichmar Fonti & Auld LLP                              Schinder v. Facebook
                             555 12th Street, Suite 1600                             3:18-cv-02571-VC (N.D. Cal.)
                             Oakland, CA 94607
                             T: (415) 445-4003
                             F: (415) 445-4020
 5.    Timothy G. Blood      Blood Hurst & O’Reardon, LLP                            Wing v. Facebook
                             501 West Broadway, Suite 1490                           3:18-cv-02122-VC (N.D. Cal.)
                             San Diego, CA 92101
                             T: (619) 338-1100
                             F: (619) 338-1101



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      Support for Lead and/or Co-Lead
      Counsel               Firm Name & Address                            Case Information
6.    James E. Cecchi       Carella, Byrne, Cecchi, Olstein, Brody &       Malskoff v. Facebook, Inc.
                            Agnello, PC                                    2:18-cv-04451 (D.C.N.J.)
                            5 Becker Farm Road                             3:18-md-02843-VC (N.D. Cal)
                            Roseland, NJ 07068
                            T: (973) 994-170
                            F: (973) 994-1744
7.    Gary F. Lynch         Carlson Lynch Sweet Kilpela & Carpenter, LLP   Gennock v. Facebook, Inc.
                            1133 Penn Avenue, 5thFloor                     3:18-cv-01891-VC (N.D. Cal.)
                            Pittsburgh, PA 15222
                            T: (412) 322-9243
                            F: (412) 231-0246
8.    Allen Carney          Carney Bates & Pulliam, PLLC                   Beiner v. Facebook Inc.
                            519 West 7th Street                            3:18-cv-01953 (N.D. Cal.)
                            Little Rock, AR 72201
                            T: (501) 312.8500
                            F: (501) 312.8505
9.    Gayle M. Blatt        Casey Gerry Schenk Francavilla Blatt &         Gerena v. Facebook
                            Penfield, LLP                                  3:18-cv-02201-VC (N.D. Cal.)
                            110 Laurel Street
                            San Diego, California 92101
                            T: (619) 238-1811
                            F: (619) 544-9232
10.   Michael J. Flannery   Cuneo Gilbert & Laduca LLP                     O’Hara v. Facebook, Inc.
                            7733 Forsyth Boulevard, Suite 1675             8:18-cv-00571-AG-JDE (C.D. Cal.)
                            St. Louis, MO 63105                            3:18-md-02843-VC (N.D. Cal)
                            T: (314) 226-1015
                            F: 202-789-1813




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      Support for Lead and/or Co-Lead
      Counsel               Firm Name & Address                       Case Information
11.   Eric H. Gibbs         Gibbs Law Group LLP                       King v. Facebook
                            505 14th Street, Suite 1110               3:18-cv-02276-VC (N.D. Cal.)
                            Oakland, CA 94612
                            T: (510) 350-9700
                            F: (510) 350-9701
12.   Daniel C. Hedlund     Gustafson Gluek PLLC                      Schinder v. Facebook
                            120 South Sixth Street, Suite 2600        3:18-cv-2571-VC (N.D. Cal.)
                            Minneapolis, MN 55402
                            T: (612) 333-8844
                            F: (612) 339-6622
13.   Rosemary M. Rivas     Levi & Korsinsky, LLP                     Vance-Guerbe v. Facebook
                            44 Montgomery Street, Suite 650           3:18-cv-02987-VC (N.D. Cal.)
                            San Francisco, CA 94104
                            T: (415) 291-2420
                            F: (415) 484-1294
14.   Michael W. Sobol      Lieff Cabraser Heimann & Bernstein, LLP   Beiner v. Facebook Inc.
                            275 Battery Street, 29th Floor            3:18-cv-01953-VC (N.D. Cal.)
                            San Francisco, CA 94111-3339
                            T: (415) 956-1000
                            F: (415) 956-1008
15.   Karen Hanson Riebel   Lockridge Grindal Nauen P.L.L.P.          Gennock v. Facebook, Inc.
                            100 Washington Avenue South               3:18-cv-01891-VC (N.D. Cal.)
                            Suite 2200
                            Minneapolis, MN 55401-2159
                            T: (612) 339-6900
                            F: (612) 339-0981




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      Support for Lead and/or Co-Lead
      Counsel               Firm Name & Address                          Case Information
16.   Marlon E. Kimpson     Motley Rice LLC                              Picha v. Facebook, Inc.
                            28 Bridgeside Boulevard                      3:18-cv-02090-VC (N.D. Cal.)
                            Mount Pleasant, SC 29464
                            T: (843) 216-9000                            Skotnicki v. Facebook, Inc.
                            F: (843) 216-9450                            1:18-cv-00655-RGA (D.C. Del.)
                                                                         3:18-md-02843-VC (N.D. Cal)
17.   Arthur M. Murray         Murray Law Firm                           Gennock v. Facebook, Inc.
                               650 Poydras Street                        3:18-cv-01891-VC (N.D. Cal.)
                               Suite 2150
                               New Orleans, LA 70130
                               T: (504) 525-8100
                               F: (504) 584-5249
18.   Nicholas A. Carlin       Phillips Erlewine Given & Carlin LLP      Rubin v. Facebook, Inc.
                               39 Mesa Street, Suite 201 –               3:18-cv-01852-VC (N.D. Cal.)
                               The Presidio
                               San Francisco, CA 94129
                               T: (415) 398-0900
                               F: (415) 398-0911
19.   Christopher A. Seeger    Seeger Weiss LLP                          Malskoff v. Facebook, Inc.
                               55 Challenger Road, 6th Floor             2:18-cv-04451 (D.C.N.J.)
                               Ridgefield Park, NJ 07660                 3:18-md-02843-VC (N.D. Cal)
                               T: (212) 584-0700
                               F: (212) 584-0799
20.   James C. Vlahakis        Sulaiman Law Group, Ltd.                  Comforte v. Cambridge Analytica
                               2500 South Highland Avenue, Suite 200     1:18-cv-02120 (N.D. Il.)
                               Lombard, IL 60148
                               T: (630) 581-8181




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      Support for Lead and/or Co-Lead
      Counsel               Firm Name & Address                       Case Information
21.   Christopher P. Ridout Zimmerman Reed, LLP                       Bouillon v. Facebook
                            2381 Rosecrans Ave., Suite 328            3:18-cv-02565-VC (N.D. Cal.)
                            Manhattan Beach, CA 90245
                            T: (877) 500-8780
                            F: (877) 500-8781




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